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                               UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                           Case No: 0:17-cv-60426-UU-Ungaro/O’Sullivan

  ALEKSEJ GUBAREV, XBT HOLDING S.A.,
  AND WEBZILLA, INC.,

           Plaintiffs,

  v.

  BUZZFEED, INC. AND BEN SMITH,

        Defendants.
  _____________________________________/

           THE NEW YORK TIMES COMPANY’S REPLY IN SUPPORT OF MOTION
               TO INTERVENE AND FOR ACCESS TO JUDICIAL RECORDS

           Pursuant to Local Rule 7.1.C, The New York Times Company (“The Times”), publisher

  of The New York Times, files its Reply in Support of Motion to Intervene and for Access to

  Judicial Records.

                                          INTRODUCTION

           The responses to The Times’s Motion to Intervene and for Access to Judicial Records

  (“Motion”) filed by Plaintiffs [D.E. 284] and Defendants [D.E. 286] demonstrate that neither

  party is advocating for total closure nor is there any basis for such closure. Specifically, with

  respect to the categories of sealed information identified by The Times,1 Plaintiffs take no

  position regarding the release of material related to the origin of the Dossier, the Government’s

  investigation of the Dossier and BuzzFeed’s investigation of the Dossier. [D.E. 284 at 5].

  Plaintiffs do oppose, however, release of sealed and redacted information related to Plaintiffs’

  advocacy and involvement in public controversies. Id.


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      Of course, as the response also points out, The Times “does not know what it does not
  know,” and there certainly may be more categories of sealed information that come within The
  Times’s Motion.
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           Defendants identified three categories of sealed information. First, with respect to

  material that was not marked by anyone as confidential pursuant to any protective order,

  Defendants support The Times’s Motion. [D.E. 286 at 1]. Of course, there is no legitimate basis

  to seal any material that has not been designated as confidential in this case. Second, for

  material related to the parties that has been designated as confidential, Defendants support The

  Times’s Motion and agree that interests in public access outweigh the confidentiality

  considerations of the parties, including Defendants themselves. Id. at 1-2. Third, Defendants

  take no position and defer to this Court’s determination as to material related to non-parties that

  has been designated as confidential. Id. at 2.

           It appears that for the vast amount of information that has been sealed, there is no basis to

  overcome the presumptive right of access. Those records should be unsealed immediately. As

  discussed below, in arguing for closure of the remaining records (concerning Plaintiffs’

  advocacy and involvement in public controversy), Plaintiffs misconstrue the presumptive right of

  access to judicial records and misapply the good cause standard to seal such records. When the

  issue of closure is properly framed and analyzed, it is clear the parties have not demonstrated any

  good cause that trumps the presumptive right of access to judicial records in this case.2




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        A significant amount of material has been filed under seal in this case. In fact, it appears
  that even motions to seal and responses thereto are under seal. The Times shares Defendants’
  concern about adjudicating closure issues in a piecemeal, secret fashion and requests that the
  Court audit the overbroad sealing occurring in this case. The Times specifically adopts and
  incorporates BuzzFeed’s request that the Court unseal additional filings submitted in connection
  with Daubert motions, motions in limine, and various motions requesting sealing. To the extent
  that any sealed filings raise similar issues to those that are raised in this motion practice, they
  should be unsealed.
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                                              ARGUMENT

  I. Plaintiffs Misconstrue the Presumptive Right of Access.

           Plaintiffs argue that the sealed and redacted filings related to their status as public figures

  are not relevant or probative to the case and therefore are not legitimate judicial records. [D.E.

  284 at 4]. In essence, Plaintiffs argue for a presumptive right of closure until a court determines

  that information contained in court filings was critical or necessary to its ultimate decision.

  Plaintiffs’ argument misses the mark. The presumptive right is one of access to judicial records

  and does not hinge on how useful the record was to the court’s deliberative process.

           The Eleventh Circuit and this Court have been explicit: the presumptive right of access

  attaches to any pretrial motion that requires judicial resolution of the merits, including motions

  for summary judgment and discovery material filed in support thereof, not just those parts of a

  court record later deemed relevant and material to the issues before the Court. See F.T.C. v.

  AbbVie Prods. LLC, 713 F.3d 54, 64 (11th Cir. 2013) (finding a complaint and its exhibit, which

  included a financial analysis and benefits of settlement, subject to presumptive right of access);

  Romero v. Drummond Co., 480 F.3d 1234, 1246 (11th Cir. 2007) (“Material filed in connection

  with any substantive motion, unrelated to discovery, is subject to the common law right of

  access.”); Chicago Tribune Co. v. Bridgestone/Firestone, Inc., 263 F.3d 1304, 1312-13 (11th

  Cir. 2001) (finding right of access attaches to discovery material filed in connection with pretrial

  motions that require judicial resolution of the merits); Travelers Prop. Cas. Co. of Am. v.

  Barkley, 2017 U.S. Dist. LEXIS 212214, *2 (S.D. Fla. June 2, 2017) (“Defendant’s Motion for

  Final Summary Judgment is a substantive pretrial motion, requiring a showing of good cause to

  overcome the presumption of public access.”). “This is a simple rule to apply and does not

  involve locating the [judicial record] on a continuum by determining the actual role the


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  document played – by, for instance, counting the number of times the district court cited it while

  deciding a motion to dismiss.” AbbVie Prods., 713 F.3d at 64; see also United States v. Sattar,

  471 F. Supp. 2d 380, 385 (S.D.N.Y. 2006) (finding psychiatric report submitted to the court in

  connection with sentencing was a judicial document subject to the presumption of access even

  though the court did not find the report to be useful and did not rely on it).

           Despite Plaintiffs’ strained interpretation regarding the appropriate context of the public

  figure analysis, the information they contend should remain sealed, i.e., material related to

  Plaintiffs’ advocacy and involvement in public controversies, is relevant to the adjudication of

  the substantive rights of the parties.3 Here, based in large part on the sealed and redacted

  summary judgment evidence, the Court will determine whether Plaintiffs are public or private

  figures, which in turn will establish the requisite constitutionally-mandated level of fault

  applicable in this case (a critical, and often dispositive, factor in any defamation case). Either

  way, the public is entitled to know the factual basis for this Court’s legal determination. The

  public is entitled to know what evidence the Court deemed credible, what evidence carried

  weight and what evidence the Court rejected. Put simply, in order to ensure the integrity of the

  judicial process, the public must be able to weigh the competing evidence and assess the Court’s

  decision.4 See Perez-Guerrero v. Unites States AG, 717 F.3d 1224, 1235 (11th Cir. 2013)

  (“Judges deliberate in private but issue public decisions after public arguments based on public


      3
       The cases Plaintiffs rely on do not involve closure of material related to the parties and
  contained in motions that adjudicated the substantive rights of the parties. [D.E. 286 at 7].
  Rather, the interests asserted to justify closure concerned non-parties and were divorced from the
  substantive merits of the underlying cases. Id.
      4
       The fact that the trial in this matter will be open to the public does not mean that summary
  judgment evidence, and other sealed and redacted filings, should not be open now. Indeed, this
  Court is going to have to make a finding concerning Plaintiffs’ public figure status as a matter of
  law. Likewise, this Court is going to have to make judicial rulings based, in part, on the sealed
  and redacted material. The public is entitled to know the basis of this Court’s rulings.

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  records. . . . Any step that withdraws an element of the judicial process from public view makes

  the ensuing decision look more like fiat and requires rigorous justification.” (citation omitted)).

  II. Plaintiffs Misapply the Good Cause Analysis.

           Ignoring all other considerations, Plaintiffs argue that there is good cause to seal the

  public figure material because it is irrelevant, unverified and salacious, and its release will

  therefore inevitably harm their fair trial rights. [D.E. 284 at 6-7]. Plaintiffs’ conclusory

  argument casts a single, narrow factor in the good cause analysis – whether the materials are

  intended purely to “promote scandal” – as a wholesale exception for anything that might be

  embarrassing or unfavorable.

           That is not how the good cause analysis works. Federal courts consistently find

  assertions that information might be embarrassing, incriminating, or reputation-damaging

  insufficient to overcome the presumption of access to judicial records. See, e.g., Milam v.

  Dominick’s Finer Foods, Inc., 567 F.3d 830, 831 (7th Cir. 2009) (unsealing affidavit submitted

  in support of motion to set aside dismissal was warranted even if it would potentially cause

  embarrassment and affect counsel’s reputation by disclosing personal matters); Jackson v. Deen,

  2013 U.S. Dist. LEXIS 65814, *9-10 (S.D. Ga. May 8, 2013) (noting that “personal

  embarrassment and general, reputation-damaging information typically do not justify sealing”);

  Huntington Nat. Bank v. Greenwood Place, LP, 2012 U.S. Dist. LEXIS 27820, *8 (S.D. Ind.

  Mar. 2, 2012) (“potential embarrassment to a stakeholder in a lawsuit does not warrant

  maintaining information under seal”); Crable v. State Farm Mut. Auto Ins. Co., 2012 U.S. Dist.

  LEXIS 23505, *6 (M.D. Fla. Feb. 24, 2012) (“the mere fact that the production of records may

  lead to a litigant’s embarrassment, incrimination, or exposure to further litigation will not,

  without more, compel the court to seal its records” (citation omitted)); Graphic Packaging Int’l,



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  Inc. v. C.W. Zumbiel Co., 2010 U.S. Dist. LEXIS 143284 (M.D. Fla. Oct. 27, 2010) (finding

  party’s interest in protecting its customer from embarrassment that would result from making

  “less-than-flattering conduct” public is not sufficient to outweigh the public right of access).

           While numerous factors are to be weighed by the Court [D.E. 254 at 5], Romero v.

  Drummond is particularly instructive. In Romero, the Eleventh Circuit rejected justifications for

  closure markedly similar to those asserted by Plaintiffs here. 480 F.3d at 1245-48 (finding that

  district court abused its discretion in refusing to unseal motions and declarations). The

  underlying court records in Romero contained “sordid allegations of intrigue, corruption, and

  assassination in Columbia, ‘where the awful is the ordinary.’”5 Id. at 1234. Amidst concerns

  that the defendants were lobbying the Department of State to intervene in the matter, the district

  court instructed the parties not to contact the Department and proposed the court would send a

  letter soliciting an opinion on whether the litigation might impact foreign relations. Id. at 1239.

  The plaintiff subsequently filed a motion to submit information to the Department of State,

  which included a declaration from a former Columbian official that stated he had witnessed

  defendant’s head of Columbian operations hand a briefcase of cash to a paramilitary leader in

  exchange for killing two union leaders. Id. at 1240. The district court sealed the declarations

  (and a motion for reconsideration) based on a finding the allegations were incredible and

  irrelevant, appeared to be filed in a “bad faith” attempt to circumvent a protective order, and

  would prejudice the right of a fair trial by creating a “firestorm” in the media and tainting the

  jury pool. Id. at 1241, 1247. The Eleventh Circuit, however, found these “stereotyped and




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      The complaint alleged that the president of one of the defendant’s subsidiaries hired
  Colombian paramilitaries to kill and torture union members at defendant’s coal mine in
  Columbia. Romero, 480 F.3d at 1238.

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  conclusory statements” did not establish good cause. Id. at 1247. In its words, the sealing “was

  an exaggerated remedy for the harms the district court identified.” Id. at 1248.

           Here, Plaintiffs proffer the same “stereotyped and conclusory statements” that the

  Eleventh Circuit has already found will not support closure. Again, the fact that judicial records

  may contain unverified, embarrassing or unfavorable material simply is not enough to overcome

  the presumptive right of access. Id. at 1247 (noting that defendant’s denial of the allegations in

  the complaint is not a basis to seal the evidence). Plaintiffs’ bald assertion that Defendants filed

  the sealed materials in order to “defame” them has no support in the record. But, more to the

  point, the motivation behind a filing is not determinative of access. See id. (even if plaintiffs’

  lawyers had acted with “improper motives,” the “sanction should not have been to close judicial

  proceedings to the public”). Moreover, The Times’s request to unseal judicial records

  encompasses not just Defendants’ filings, but Plaintiffs’ responses thereto; thus providing

  Plaintiffs an opportunity to respond to any of the information contained in the sealed findings.

  Id. at 1246 (finding that opportunity to respond is a relevant factor in the good cause balancing

  analysis). And, the extensive coverage this case has received (and will no doubt continue to

  receive) is not a valid basis for closure. Id. at 1247 (noting that even pervasive and concentrated

  pretrial publicity does not automatically lead to an unfair trial). If anything, the already-

  extensive reporting about this case means that additional sealing will “not remedy any of the

  highly unlikely harms that could be caused by pretrial publicity.” Id.

           Against these stereotyped and conclusory arguments to support closure, Plaintiffs

  radically underplay the public interest in their background and activities. They concede that “the

  case itself presents a matter of public concern,” but maintain that the “single legitimate area of

  inquiry” about their “involvement in public controversies” is Mr. Gubarev’s communications



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  with a reporter about a technical issue involving servers. [D.E. 284 at 5, 7]. The public interest

  here goes well beyond that. The allegation in the Dossier that gave rise to this lawsuit is that

  Plaintiffs played a role in the hacking operations against the leadership of the Democratic Party.

  [D.E. 254, at 3]. The fact that Plaintiffs contest the truth of that allegation does not lessen the

  public interest in it. And as Plaintiffs recognize, there is a broader public interest in the case – in

  the truth of the Dossier’s other allegations, as well as the conduct of Government officials in

  acting on those allegations – that warrant openness in every facet of the proceeding. Romero,

  480 F.3d at 1246 (“The sealed documents involve public concerns that are at the heart of the

  interest protected by the right of access: ‘the citizen’s desire to keep a watchful eye on the

  workings of public agencies . . . [and] the operation of government.’” (citation omitted)).

           The Times seeks access to the redacted information and sealed material in furtherance of

  its reporting on this highly important public matter. This legitimate purpose does not promote

  public scandal, but actually fosters public understanding of these proceedings. E.g., U.S. v.

  Abegg, No. 92-8022-cr, 21 Media L. Rep. 1442, *1 (S.D. Fla. March 18, 1993) (noting that press

  access to court records is a legitimate purpose that enhances public understanding). While

  Plaintiffs may prefer to litigate whether they are public figures in private, the public interest in

  access to the sealed and redacted information is especially weighty here and more than enough to

  overcome any interest in secrecy. See Carbiener v. Lender Processing Servs., 2015 U.S. Dist.

  LEXIS 184103, *2-3 (M.D. Fla. Mar. 6, 2015) (“Many a litigant would prefer that the subject of

  the case . . . be kept from the curious . . ., but the tradition that litigation is open to the public is

  of very long standing.” (citation omitted)). On balance, Plaintiffs’ claimed interest in precluding

  the public disclosure of purportedly irrelevant facts does not overcome the public’s right of

  access to the sealed filings in connection with the summary judgment motions in this case.



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                                            CONCLUSION

           The Times respectfully requests that the redacted and sealed materials filed in

  conjunction with the parties’ motions be made public. Access is certain to promote public

  understanding of the historically significant events at issue in this litigation, and the presumptive

  right of access to judicial records in this case is more than powerful enough to outweigh any

  interest in secrecy.

                                                 Respectfully submitted,

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                                    CERTIFICATE OF SERVICE

            I HEREBY CERTIFY that on November 7, 2018 that a true and correct copy of the

   foregoing has been furnished to via CM/ECF to all counsel of record.

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